Case 1:22-cr-20361-JEM Document 28 Entered on FLSD Docket 02/22/2023 Page 1 of 8




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 22-20361-CR-MARTINEZ/BECERRA

  UNITED STATES OF AMERICA

  vs.

  ELIE FLORADIN,

         Defendant.
  - - -- - - - - - - -- - - I
                                        PLEA AGREEMENT

         The United States Attorney's Offic e fo r the Southern District of Florida ("thi s Office") and

  ELIE FLORADIN (the "Defendant") enter into the fo llowing agreement:

          1.     The Defendant -agrees to plead guilty to Count 1 of the Indictment, which charges

  the Defend ant with Wire Fraud, in violation of 18 U.S.C. § I 343.

         2.      The Office agrees to seek the dismissal of Counts 2 and 3 of the Indictment, after

  sentencing.

          3.     The Defendant is aware that the sentence will be imposed by the Co urt after

  considering the advisory Federal Sentencing Gui delines and Policy Statements (hereinafter

  " Sentencing Guidelines").    The Defendant acknowledges and understands that the Co urt will

  compute an advisory sentence under the Sentencing Guidelines and that the applicable gu idelines

  will be determined by the Court relying in part on the results of a pre-sentence investigation by the

  Court' s probation office, whi ch investigati on will commence after the guilty plea has been entered.

  The Defendant is also aware that, under certain circum stances, the Court may depait from the

  advisory sentencing guideline range that it has computed, and may raise or lower that advisory

   sentence under the Sentencing Guidelines. The Defendai1t is further aware and understands that
Case 1:22-cr-20361-JEM Document 28 Entered on FLSD Docket 02/22/2023 Page 2 of 8




  the Comi is required to consider the advisory guideline range determined under the Sentencing

  Guidelines, but is not bound to impose a sentence within that advisory range; the Court is permitted

  to tailor the ultimate sentence in light of other statutory concerns, and such sentence may be either

  more severe or less severe than the Sentencing Guidelines ' advisory range. Knowing these facts,

  the Defendant understands and acknowledges that the Court has the authority to impose any

  sentence within and up to the statutory maximum authorized by law for the offense identified in

  paragraph 1 and that the Defendant may not withdraw the plea solely as a result of the sentence

  imposed.

         4.      The Defendant also understands and acknowledges that, as to Count 1, the Court

  may impose a statutory maximum term of imprisonment of up to twenty (20) years, followed by a

  term of supervised release of up to three (3) years. In addition to a term of imprisonment and

  supervised release, the Comt may impose a fine of up to $250,000 or twice the gross gain or gross

  loss resulting from the offense, and may order forfeiture and must order restitution. The paiiies

  have agreed that the restitution amount applicable to this Defendant is $199,999.

         5.      The Defendant further understands and acknowledges that, in addition to ai1y

  sentence imposed under paragraph 4 of this agreement, a special assessment in the amount of $100

  wi ll be imposed on the Defendant. The Defendant agrees that any special assessment imposed

  shall be paid at the time of sentencing. If financially unable to pay the special assessment, the

  Defendant agrees to present evidence to thi s Office and the Court at the time of sentencing as to

  the reasons for the Defendant' s failme to pay.

         6.      This Office reserves the right to inform the Court and the probation office of all

  facts pertinent to the sentencing process, including all relevant information concerning the offenses

   committed, whether charged or not, as well as co ncerning the Defendant and the Defendant's

                                                    2
Case 1:22-cr-20361-JEM Document 28 Entered on FLSD Docket 02/22/2023 Page 3 of 8




  background. Subject only to the express terms of any agreed-upon sentencing recommendations

  contained in this agreement, this Office further reserves the right to make any recommendation as

  to the quality and quantity of punishment.

         7.      This Office agrees that it will recommend at sentencing that the Court reduce by

  two levels the sentencing guidelines level applicable to the Defendant's offense, pursuant to

  Section 3El .1 of the Sentencing Guidelines, based upon the Defendant' s recognition and

  affirmative and timely acceptance of personal responsibility. If at the time of sentencing the

  Defendant's offense level is determined to be 16 or greater, this Office will file a motion requesting

  an additional one level decrease pursuant to Section 3E 1.1 (b) of the Sentencing Guidelines, stating

  that the Defendant has assisted authorities in the investigation or prosecution of the Defendant' s

  own misconduct by timely notifying authorities of the Defendant's intention to enter a plea of

  guilty, thereby permitting the government to avoid preparing for trial and permitting the

  government and the Court to allocate their resources efficiently. However, this Office will not be

  required to make this motion and this recommendation if the Defendant: ( 1) fails or refuses to

  make a full , accurate, and complete disclosure to the probation office of the circumstances

  sunounding the relevant offense conduct; (2) is found to have misrepresented facts to the

  govermnent prior to entering into this plea agreement; or (3) commits any misconduct after

  entering into this plea agreement, including but not limited to cormnitting a state or federal offense,

  violating any term of release, or making fa lse statements or misrepresentations to any

  govermnental entity or official.

         8.      This Office and the Defendant agree that, although not binding on the probation

  office or the Court, they will jointly recommend that the Court make the foll owing findings as to

  the sentence to be imposed:

                                                     3
Case 1:22-cr-20361-JEM Document 28 Entered on FLSD Docket 02/22/2023 Page 4 of 8




                  a.      Loss: That the relevant amount of actual , probable, or intended loss under

          Section 2B 1.1(b)( 1) of the Sentencing Guidelines resulting from the offense committed in

          thi s case is $799,997 (i.e ., greater than $550,000 and less than $ 1,5 00,000), resulting in a

           14-level increase;

                  b.      Additional Enhancements, Adjustments, and Variances: The parties remain

          free to argue for or against any other enhancements or adjustments, as well as to argue for

          or against any variance under 18 U.S.C . § 3553.

          9.      The Defendant is aware that the sentence has not yet been determined by the Court.

  The Defendant also is aware that any estimate of the probable sentencing range or sentence that

  the Defendant may receive, whether that estimate comes from the Defendant' s attorneys, this

   Office, or the probation office, is a prediction, not a promise, and is not binding on this Office, the

  probation office, or the Court. The Defendant understands fu1iher that any recommendation that

  this Office makes to the Court as to sentencing, whether pursuant to thi s agreement or otherwise,

   is not binding on the Court, and the Court may disregard the recommendation in its enti rety. The

  Defendant understands and acknowledges, as previously acknowledged in paragraph 3 above, that

   the Defendant may not withdraw his plea based upon the Court's decision not to accept a

   sentencing recommendation made by the Defendant, this Office, or a recommendation made

  jointly by the Defendant and this Office.

           I 0.   The Defendant agrees, in an individ ual and any other capacity, to forfe it to the

   United States, voluntarily and immediately, any property, real or personal, which constitutes or is

   derived from proceeds traceable to the offense, in violation of 18 U.S.C. § 1343 , pursuant to 18

   U.S.C. § 98 l (a)(l)(C).     In addition, the Defendant agrees to forfe iture of substitute property

   pursuant to 21 U.S.C . § 853(p). The property subject to fo rfe iture includes, but is not limited to:

                                                      4
Case 1:22-cr-20361-JEM Document 28 Entered on FLSD Docket 02/22/2023 Page 5 of 8




                    a.      A forfeiture money judgment in the sum of $199,999 in U. S. currency,

             which sum represents the value of the property that constitutes or is derived from proceeds

            traceable to the defend ant' s commission of the offense; and

                    b.      Substitute property, includ ing, but not limited to, the real property located

            at 1290 NW 60 Street, Miami , Florida 33142.

             11 .   The Defendant further agrees that forfe iture is independent of any assessment, fine,

   cost, restitution, or penalty that may be imposed by the Comt. The Defendant knowingly and

   voluntarily agrees to waive all constitutional, legal, and equitable defenses to the fo rfe iture,

   including excessive fines under the Eighth Amendment to the United States Constitution . In

   addition, the Defendant agrees to waive: any applicable time limits for administrative or judicial

   fo rfeiture proceedings, the requirements of Fed. R. Crim. P. 32.2 and 43(a), and any appeal of the

   fo rfe iture.

             12.    The Defend ant also agrees to fu lly and truthfully di sclose the existence, nature, and

   location of all assets in which the Defendant has or had any direct or indirect financial interest or

   control , and any assets involved in the offense of conviction. The Defendant agrees to take all

   steps requested by the United States for the recovery and forfe iture of all assets identified by the

   United States as subj ect to fo rfe iture. Thi s includes, but is not limited to, the timely delivery upon

   request of all necessary and appropriate documentation to deliver good and marketable title,

   consenting to all orders of fo rfe iture, and not contesting or impeding in any way with any criminal,

   civil or administrative forfeiture proceeding concerning the forfeiture.

             13 .   In furtherance of the sati sfaction of a forfeiture money judgment entered by the

   Court in this case, the defendant agrees to the foll owing:



                                                       5
Case 1:22-cr-20361-JEM Document 28 Entered on FLSD Docket 02/22/2023 Page 6 of 8




                     a.     Submit a financial statement to this Office upon reg uest, within 14 calendar

           days from the request;

                     b.     Maintain any asset valued in excess of $10,000, and not sell , hide, waste,

           encumber, destroy, or otherwise devalue such asset without prior approval of the United

           States;

                     c.     Provide information about any transfer of an asset valued in excess of

           $ 10,000 since the commencement of the offense conduct in this case to date;

                     d.     Cooperate full y in the investigation and the identification of assets,

           including liquidating assets, meeting with representatives of the United States, and

           providing any documentation requested; and

                     e.    Notify , within 30 days, the Clerk of the Court for the Southern District of

           Florida and this Office of: (i) any change of name, residence, or mailing address, and (ii)

           any material change in economic circumstances.

   The Defendant further understands that providing false or incomplete info rmation about

   asse ts, concealing assets, making materi ally false statements or representati ons, or making or

   using false writings or documents pertaining to assets, taking any action that would impede the

   fo rfe iture of assets, or fa iling to cooperate full y in the investigation and identification of assets

   may be used as a basis for: (i) separate prosec ution, including, under 18 U.S.C. § I 00 1; or (ii)

   recommendation of a denial of a reducti on for acceptance of responsibility pursuant to the

   United States Sentencing Guidelines § 3E l .1.

           14.       The Defendant is aware that 18 U.S .C. § 3742 and 28 U. S. C. § 1291 afford the

   Defendant the right to appeal the sentence imposed in thi s case. Acknowledging this, in exchange

   for the undertaki ngs made by the United States in thi s plea agreement, the Defend ant hereby

                                                       6
Case 1:22-cr-20361-JEM Document 28 Entered on FLSD Docket 02/22/2023 Page 7 of 8




   wai ves all rights confe1Ted by Sections 3742 and 129 1 to appeal any sentence imposed, including

  any restitution order, or to appeal the manner in which the sentence was imposed, unless the

   sentence exceeds the maximum permitted by statute or is the result of an upward departure and/or

  an upward variance from the advisory guideline range that the Court establishes at sentencing.

  The Defendant further understands that nothing in this agreement shall affect the governn1ent' s

   right and/or duty to appeal as set forth in 18 U.S .C. § 3742(b) and 28 U.S.C. § 1291. However,

   if the United States appeals the Defe ndant' s sentence pursuant to Sections 3742(b) and 1291 , the

  Defendant shall be released from the above waiver of appellate rights. By signing this agreement,

   the Defendant acknowledges that the Defendant has discussed the appeal wai ver set fo rth in this

  agreement with the Defendant' s attorneys. The Defendant further agrees, together with this

  Office, to request that the Comi enter a specific finding that the Defendant' s waiver of his right to

  appeal the sentence imposed in this case was knowing and voluntary.

          15 .    The Defendant recognizes that pleading guilty may have consequences with respect

   to the Defendant's immigration status if the Defendant is not a natural-born citizen of the United

   States. Under federal law, a broad range of crimes are removable offenses, including the offe nse

   to which the Defendant is pleading guilty.           In addition, under certain circumstances,

  denaturalization may also be a consequence of pleading guilty to a crime.                   Removal,

   denaturalization, and other immigration consequences are the subj ect of a separate proceeding,

   however, and the Defendant understands that no one, including the Defendant's attorneys or the

   Court, can predict to a certainty the effect of the Defendant' s conviction on the Defendant's

   immigration status. Defendant nevertheless affirm s that the Defendant wants to plead guilty

   regardless of any immigration consequences that the Defendant' s plea may entail, even if the

   consequence is the Defendant's denaturalization and automatic removal from the United States.

                                                    7
Case 1:22-cr-20361-JEM Document 28 Entered on FLSD Docket 02/22/2023 Page 8 of 8




          16.     This is the entire agreement and understanding between this Office and the

   Defendant. There are no other agreements, promises, representations, or understandings.


                                              MARKENZY LAPOINTE
                                              UNITED STATES ATTORNEY


          Date:                        By:
                                              EDUARDO GARDEA, JR.
                                              ASSIST ANT UNITED STA TES ATTORNEY


          Date:                        By:
                                             ~0w
                                               ~J
                                              ATTORNEY FOR DEFENDA T


                                                       ~
                                              DAVID TARRAS, ESQ.
                                              ATTORNEY FOR DEFENDANT


          Date:                        By:
                                              EL~Jnf/o~~
                                              DEFENDANT




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